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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

V. CASE NO. 8:24-cr-276-VMC-UAM

MIGUEL FORTIER
/

WAIVER OF DEFENDANT'S PRESENCE AT ARRAIGNMENT,
ENTRY OF NOT GUILTY PLEA, AND REQUEST FOR DISCOVERY

I, MIGUEL FORTIER, the above-named defendant, do hereby waive my right to be
present at arraignment and through counsel enter a plea of Not Guilty to the charges in the

Indictment. I hereby state that I have received a copy of the charging instrument from my

attorney.
ee 3 /
S/ MIQUEL FORTIER
MIGUEL FORTIER Nicholas Gianni Matassini
Defendant Counsel for Defendant

DEFENDANT”’S REQUEST FOR RULE 16 DISCOVERY

COMES NOW, MIGUEL FORTIER, by and through undersigned attorney, and hereby
gives notice that he will participate in all discovery allowed by the Federal Rules of Criminal

Procedure, in the above-captioned case.
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CERTIFICATE OF SERVICE

[ hereby certify that on August 1, 2024, a copy of the foregoing was filed electronically.
Notice of this filing will be sent by operation of the Court's CM/ECF system to all parties
indicated on the electronic filing receipt. Parties may access this filing through the Court's

CM/ECE system.

S/ Nicholas G. Matassini
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